Case 6:16-cv-00970-RBD-TBS Document 102 Filed 06/26/18 Page 1 of 6 PageID 1355




                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF FLORIDA
                                 ORLANDO DIVISION
    _______________________________________
                                            )
    UNITED STATES OF AMERICA,              )
    ex rel. BARBARA BERNIER;               )
    BARBARA BERNIER; and ESE LOVE,          )
                                            )
            Plaintiffs,                     )  Case No. 6:16-cv-00970-RBD-TBS
                                            )
    v.                                      )
                                            )
    INFILAW CORPORATION;                   )
    CHARLOTTE SCHOOL OF LAW, LLC;          )
    AMERICAN BAR ASSOCIATION,               )
    d/b/a COUNCIL OF THE SECTION            )
    OF LEGAL EDUCATION AND                 )
    ADMISSIONS TO THE BAR; and             )
    AMERICAN BAR ASSOCIATION,              )
    d/b/a ACCREDITATION COMMITTEE           )
    OF THE SECTION OF LEGAL                 )
    EDUCATION AND ADMISSIONS               )
    TO THE BAR,                             )
                                            )
            Defendants.                     )
    _______________________________________)


      INFILAW CORPORATION AND CHARLOTTE SCHOOL OF LAW, LLC’S
    UNOPPOSED MOTION FOR LEAVE TO FILE A REPLY IN SUPPORT OF THEIR
          MOTION TO DISMISS THE SECOND AMENDED COMPLAINT

           Pursuant to Local Rule 3.01(c) and (d), Defendants InfiLaw Corporation (“InfiLaw”)

    and Charlotte School of Law, LLC (“CSL”) (collectively, “Defendants”) move for leave to file

    a five-page reply in support of Defendants’ Motion to Dismiss the Second Amended Complaint

    (Dkt. No. 88) (“Motion”). Plaintiff Barbara Bernier does not oppose this request. Defendants

    request seven days to submit the reply.
Case 6:16-cv-00970-RBD-TBS Document 102 Filed 06/26/18 Page 2 of 6 PageID 1356




           A reply will benefit the Court for three reasons. First, Bernier’s Opposition to

    Defendants’ Motion, Dkt. No. 98 (“Opposition” or “Opp.”), asserts several new arguments

    against the False Claims Act’s (“FCA”) first-to-file bar that Defendants could not anticipate in

    their opening brief because she cites outdated and out-of-circuit authority, untenable

    hypotheticals, and minority positions that have been rejected—for good reason—by most other

    courts. Specifically, the Opposition mischaracterizes Defendants’ application of Kellogg

    Brown & Root Services Inc. v. U.S. ex rel. Carter, 135 S. Ct. 1970 (2015), as well as its holding

    and significance (Opp. at 4-5 & n.5); urges the Court to misapply Rockwell International Corp.

    v. United States, 549 U.S. 457 (2007) related to the actual date this action and U.S. ex rel.

    Lorona v. InfiLaw Corp., Case No. 3:15-cv-00959-MMH-JRK (M.D. Fla.) were “brought”

    when applying the first-to-file bar (Opp. at 5-7); and relies upon exceptions to the first-to-file

    bar that have been invalidated by amendments to the FCA and rejected by most courts (id. at

    7-11). Defendants’ reply will demonstrate these errors and help the Court resolve these issues

    correctly and efficiently. Defendants have not had an opportunity to address these arguments,

    as the earlier filed actions were not unsealed until after Defendants’ previous Motion to

    Dismiss was fully briefed, and Bernier did not raise these arguments during the pre-motion

    conference.

           Second, several aspects of Plaintiff’s arguments regarding an FCA relator’s pleading

    obligations are incorrect. Among other things, Plaintiff muddles Defendants’ arguments about

    the program participation agreements (Opp. at 12-13), and conflates the showing needed for

    the element of scienter with the type of knowledge, or alternative indicia of reliability, a relator

    must demonstrate to survive a motion to dismiss (id. at 13-19). Defendants’ reply will correct




                                                     2
Case 6:16-cv-00970-RBD-TBS Document 102 Filed 06/26/18 Page 3 of 6 PageID 1357




    these errors and explain why Bernier’s arguments do not resolve the deficiencies in her

    pleadings.

             Finally, Defendants’ reply will help the Court correctly rule on Plaintiff’s new common

    law claims.1 Bernier contests the dates her claims accrued, but fails to show that her proposed

    alternative dates would fall within the statute of limitations (Opp. at 19-20). Defendants should

    have an opportunity to demonstrate that Bernier’s claims are still time-barred, even if her

    accrual arguments are correct. For these reasons, Defendants respectfully request leave to file

    a five-page reply.

        Dated: June 26, 2018                                  Respectfully submitted,

                                                              /s/ Mazda K. Antia
                                                              Mazda K. Antia, Esq.
                                                              COOLEY LLP
                                                              4401 Eastgate Mall
                                                              San Diego, CA 92121
                                                              Tel: 858-550-6000
                                                              Fax: 858-550-6420
                                                              Email: mantia@cooley.com

                                                              David E. Mills, Esq.
                                                              COOLEY LLP
                                                              1299 Pennsylvania Avenue
                                                              Washington, D.C. 20004
                                                              Tel: (202) 842-7800
                                                              Fax: (202) 842-7899
                                                              Email: dmills@cooley.com
                                                              Trial Counsel




    1
             To the extent Plaintiff Ese Love now contends she has asserted claims against Defendants, Defendants
    should also have the opportunity to rebut that argument. See Opp. at 20-21 (“Bernier and Love timely asserted
    counts IV and V with leave of court.”).




                                                          3
Case 6:16-cv-00970-RBD-TBS Document 102 Filed 06/26/18 Page 4 of 6 PageID 1358




                                           Vincent A. Citro, Esq.
                                           Florida Bar. No. 0468657
                                           LAW OFFICES OF HORWITZ
                                           & CITRO, P.A.
                                           17 East Pine Street
                                           Orlando, FL 32801
                                           Tel: (407) 843-7733
                                           Fax: (407) 849-1321
                                           Email: vince@horwitzcitrolaw.com

                                           Counsel for Defendants InfiLaw
                                           Corporation and Charlotte School
                                           of Law, LLC




                                       4
Case 6:16-cv-00970-RBD-TBS Document 102 Filed 06/26/18 Page 5 of 6 PageID 1359




                            CERTIFICATE OF CONFERENCE

           I HEREBY CERTIFY that on June 22, 2018, I conferred with counsel for Plaintiff

    regarding the foregoing motion, and Plaintiff agreed that the reply requested here should

    be permitted.




                                                       /s/ Mazda K. Antia
                                                       Mazda K. Antia, Esq.

                                                       Counsel for Defendants InfiLaw
                                                       Corporation and Charlotte School
                                                       of Law, LLC
Case 6:16-cv-00970-RBD-TBS Document 102 Filed 06/26/18 Page 6 of 6 PageID 1360




                                 CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that on June 26, 2018, I electronically filed the foregoing

    with the Clerk of the Court by using the CM/ECF system which will send a notice of

    electronic filing to all counsel of record, including the following:


           Coleman W. Watson, Esq.
           Watson LLP
           189 S. Orange Avenue, Suite 810
           Orlando, FL 32801

           Counsel for Relator and Plaintiffs


           Johanna W. Clark
           Florida Bar No. 196400
           Carlton Fields Jorden Burt P.A.
           450 S. Orange Ave., Suite 500
           Orlando, FL 32801

           Counsel for Defendants American Bar Association Council of the Section of
           Legal Education and Admissions to the Bar and American Bar Association
           Accreditation Committee of the Section of Legal Education and Admissions
           to the Bar


           Jeremy Ronald Bloor
           US Attorney's Office
           Suite 3100
           400 W Washington St
           Orlando, FL 32801

           Counsel for United States of America



                                                          /s/ Mazda K. Antia
                                                          Mazda K. Antia, Esq.

                                                          Counsel for Defendants InfiLaw
                                                          Corporation and Charlotte School
                                                          of Law, LLC
